           Case 2:19-cv-11540-VAR-RSW ECF No. 3 filed 05/28/19                           PageID.16      Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District of Michigan



Manuale H. Sakoo,

                                                    Plaintiff,

v.                                                                         Case No. 2:19−cv−11540−VAR−RSW
                                                                           Hon. Victoria A. Roberts
United States Citizenship and
Immigration Services,

                                                    Defendant.




                                                   SUMMONS IN A CIVIL ACTION

To: United States Citizenship and Immigration Services


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

                                     Michael E. Piston
                                     314 Town Center Drive
                                     Troy, MI
                                     48084

     If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




DAVID J. WEAVER, CLERK OF COURT                                      By: s/ L. Granger
                                                                         Signature of Clerk or Deputy Clerk


                                                                           Date of Issuance: May 28, 2019
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                                                           PROOF OF SERVICE

                        (This section should not be filed with the Court unless required by Fed. R. Civ. P. 4(1))

                                                                       Case No. 2:19−cv−11540−VAR−RSW


           This summons for (name of individual and title, if any)

was received by me on (date)



[    ]    I personally served the summons on the individual at (place)

                                                                             on (date)                                     ; or



[    ]    I left the summons at the individual's residence or usual place of abode with (name)

                                                                    a person of suitable age and discretion who resides there,

          on (date)                                      , and mailed a copy to the individual's last known address; or



[    ]    I served the summons on (name of individual)                                                               , who is

          designated by law to accept service of process on behalf of (name of organization)

                                                                           on (date)                                      ; or



[    ]    I returned the summons unexecuted because                                                                        ; or



[    ]    Other: (specify):



         My fees are $                          for travel and $               for services, for a total of $                .

         I declare under the penalty of perjury that this information is true.




Date:
                                                                     Server's Signature

                                                                     Printed Name and Title

                                                                     Server's address

Additional information regarding attempted service, etc.:
